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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION



    Vervain, LLC
                   Plaintiff,                           Civil Action No. 6:21-cv-487-ADA
    v.
    Micron Technology, Inc.;
    Micron Semiconductor Products, Inc.; and
    Micron Technology Texas, LLC
                   Defendants.



                   JOINT NOTICE REGARDING EXTENDING DEADLINES

          The above-identified parties have agreed to the following extended deadlines. Pursuant to

the Court’s Amended Standing Order Regarding Joint or Unopposed Requests to Change

Deadlines, the above-identified parties submit this Joint Notice to memorialize their agreement to

extend case deadlines. None of the extensions impact the date for any hearing, trial, or other Court

date, and the extensions do not extend any deadline of a final submission that affects the Court’s

ability to hold a scheduled hearing, trial, or Court event.

                                                                           Previous       New
                                   Item
                                                                           Deadline     Deadline
    Deadline for the second of two meet and confers to discuss 2/1/2023                2/22/2023
    narrowing the number of claims asserted and prior art references at
    issue to triable limits

    The parties shall file a Joint Report within 5 business days regarding 2/8/2023     3/1/2023
    the results of the second meet and confer. 1




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    See the Court’s Standing Order Governing Proceedings (OGP) 4.2 at 14-15.
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Dated: February 1, 2023                     Respectfully submitted,

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                                        Products, Inc., and Micron Technology
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on February 1, 2023, a true and correct copy of the

foregoing document has been served to all counsel of record who are deemed to have consented

to electronic service via the Court’s CM/ECF system.


                                                            /s/ Alan L. Whitehurst
                                                               Alan L. Whitehurst




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